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      In The United States Court of Federal Claims
                                            No. 09-370C

                                  (Filed: November 15, 2013)
                                          __________
 NATHANIEL WAYNE GAY,

                               Plaintiff,

                        v.

 THE UNITED STATES,

                              Defendant.
                                             _________

                                              ORDER
                                             _________

        Oral argument on the parties’ motions for judgment on the administrative record will be
held in this case on Friday, December 6, 2013, at 10:00 a.m. (EST) at the United States Court of
Federal Claims, National Courts Building, 717 Madison Place, N.W., Washington, D.C. 20439.
The courtroom location will be posted in the lobby on the day of the oral argument.

       IT IS SO ORDERED.



                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
